Case 0:17-cv-60471-JJO Document 75 Entered on FLSD Docket 01/31/2018 Page 1 of 10



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 0:17-cv-60471-JJO


  GRIFFEN LEE,

         Plaintiff,

  v.

  LAW OFFICE OF CHARLES G.
  MCCARTHY JR. & ASSOCIATES,

        Defendant.
  ____________________________________/

                 PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AND
                      INCORPORATED MEMORANDUM OF LAW

         Plaintiff GRIFFEN LEE (“Plaintiff”), by and through undersigned counsel, moves for

  summary judgment under Rule 56 of the Federal Rules of Civil Procedure against Defendant,

  LAW OFFICE OF CHARLES G. MCCARTHY JR. & ASSOCIATES (“Defendant”).

  I.     BACKGROUND

         1.      On March 04, 2017, Plaintiff filed the Complaint [D.E. 1] against Defendant for

  violation of 15 U.S.C §1692 et seq., the Fair Debt Collection Practices Act (“FDCPA”), and

  Florida Statute §559.55 et seq., the Florida Consumer Collection Practices Act (“FCCPA”). In

  short, Plaintiff claimed that Defendant violated § 1692e, e(2)(A), e(5), and e(10) of the FDCPA

  by attempting to collect a debt from Plaintiff without first registering as a consumer collection

  agency, pursuant to § 559.551 of the FCCPA. See Id. at ¶¶ 1-5, 36-40.

         2.      On December 19, 2017, an Order [D.E. 64] on Plaintiff’s prior Motion for

  Summary Judgement [D.E. 51] was issued, and as a result thereof, the outcome of the present




                                            Page 1 of 10
Case 0:17-cv-60471-JJO Document 75 Entered on FLSD Docket 01/31/2018 Page 2 of 10



  action was narrowed to a singular issue, to wit, whether Defendant fits within the exemption carved

  out by Fla. Stat. § 559.553(3)(h). In particular, it was “ORDERED AND ADJUDICATED” that:

                   Plaintiff’s Motion for Summary Judgment, D.E. 51, is GRANTED
                   IN PART and DENIED IN PART. Plaintiff has shown no genuine
                   dispute of material fact that Defendant violated 15 U.S.C. § 1692e,
                   15 U.S.C. § 1692e10), 15 U.S.C. § 1692e(2)(A), and 15 U.S.C. §
                   1692(4), as set forth herein, as long as Defendant is not subject to
                   the exemption to Florida’s licensing requirements under Fla. Stat. §
                   559.553(3)(h). The parties shall proceed to trial on the Section
                   559.553(3)(h) exemption as well as on damages.

  D.E. 64 at 17.

  Also, as part of the Order, it was further required that:

                   [T]he parties SHALL meet and confer and, then, file one brief
                   setting forth the parties’ respective positions as to whether Plaintiff
                   or Defendant bear the burden of proving that Defendant is or is not
                   entitled to the exemption under Fla. Stat. § 559.553(3)(h).

  D.E. 64 at 17; see D.E. 65 (the requested brief, i.e., Plaintiff’s Brief Regarding Burden of Proving

  Exemption, submitted to the Court for consideration).

         3.        On December 22, 2017, the issue of whom bears the burden of proving, or

  disproving whether Defendant qualifies for the exemption under Fla. Stat. § 559.553(3)(h) was

  resolved at the Pretrial Conference1 before Judge Ursula Ungaro upon Plaintiff’s inquiry, in that,

  the Court clarified that Defendant has the burden of proving exemption under Fla. Stat. §

  559.553(3)(h). See Transcript of 12/22 Pretrial Conference at 13, ¶ 1-6 (wherein the Court stated

  that “the defendant bears the burden of going forward on the [exemption] and the burden of proof

  on the affirmative defense…”).




  1
   Attached hereto as Exhibit “A” is the transcript of the Pretrial Conference conducted before Judge
  Ursula Ungaro on December 22, 2017 (the “Transcript of 12/22 Pretrial Conference”).

                                               Page 2 of 10
Case 0:17-cv-60471-JJO Document 75 Entered on FLSD Docket 01/31/2018 Page 3 of 10



         4.      On January 7, 2018, the Parties filed a Joint Motion for Modification of the

  Scheduling Order [D.E. 70] seeking to extend the cutoff for summary judgment motions.

         5.      On January 17, 2018, as part of the Order Setting Pretrial Conference and Trial

  Date [D.E. 72], this Court, inter alia, granted the Joint Motion [D.E. 70], ordering that: “[a]ny and

  all pretrial motions, including motions for summary judgment, must be filed no later than

  Wednesday, January 31, 2018. Responses to any motions for summary judgment shall be filed on

  or before Wednesday, February 14, 2018. Any replies shall be filed on or before Wednesday,

  February 21, 2018.” D.E. 72 at 1 (emphasis added).

         6.      Accordingly, the forgoing Motion for Summary Judgment is that which Plaintiff

  had prayed to file [D.E. 70] and this Honorable Court permitted [D.E. 72].

  II.    MEMORANDUM OF LAW

  A.     STANDARD FOR SUMMARY JUDGMENT

         7.      Summary judgment is appropriate when “the pleadings . . . show that there is no

  genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter

  of law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986); HCA Health Servs. of Ga.,

  Inc. v. Employers Health Ins. Co., 240 F.3d 982, 991 (11th Cir. 2001). Once the moving party

  demonstrates the absence of a genuine issue of material fact, the non-moving party must “come

  forward with ‘specific facts showing that there is a genuine issue for trial.’” Matsushita Elec. Indus.

  Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (quoting Fed. R. Civ. P. 56(e)).

         8.      The Court must view the record and all factual inferences therefrom in the light

  most favorable to the non-moving party and decide whether “‘the evidence presents a sufficient

  disagreement to require submission to a jury or whether it is so one-sided that one party must




                                              Page 3 of 10
Case 0:17-cv-60471-JJO Document 75 Entered on FLSD Docket 01/31/2018 Page 4 of 10



  prevail as a matter of law.’” Allen v. Tyson Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997)

  (quoting Anderson, 477 U.S. at 251-52).

         9.      As a general rule, the Court may not weigh conflicting evidence when considering

  a motion for summary judgment. See Skop v. City of Atlanta, 485 F.3d 1130, 1140 (11th Cir.

  2007). However, “[w]hen opposing parties tell two different stories, one of which is blatantly

  contradicted by the record, so that no reasonable jury could believe it, a court should not adopt that

  version of the facts for ruling on a motion for summary judgment.” Scott v. Harris, 550 U.S. 372,

  380 (2007). CompuLife Software, Inc. v. Binyomin Rutstein, 2017 WL 2813840, at *2 (S.D. Fla.

  June 29, 2017).

  B.     REQUIREMENTS OF EXEMPTION § 559.553(3)(h)

         10.     Pursuant to Fla. Stat. § 559.553(3)(h), the FCCPA exempts from registration “any

  out-of-state consumer debt collector who does not solicit consumer debt accounts for collection

  from credit grantors who have a business presence within Florida.” LeBlanc v. Unifund CCR

  Partners, 601 F.3d 1185, 1197 (11th Cir. 2010) (quoting § 559.553(3)(h)) (emphasis added).

         11.     Thus, to qualify for exemption under Fla. Stat. § 559.553(3)(h), a defendant must

  both (1) be an out-of-state debt collector; and (2) not solicit consumer debt accounts for

  collection from credit grantors that have business presence in Florida. Id.

         12.     The term “out-of-state consumer debt collector” is defined by the FCCPA as “any

  person whose business activities in this state [that] involve both collecting or attempting to collect

  consumer debt from debtors located in this state by means of interstate communication originating

  from outside this state and soliciting consumer debt accounts for collection from creditors who




                                              Page 4 of 10
Case 0:17-cv-60471-JJO Document 75 Entered on FLSD Docket 01/31/2018 Page 5 of 10



  have a business presence in this state.” LeBlanc, 601 F.3d 1185 at 1197. (quoting Fla. Stat. §

  559.55(11)) (emphasis added).2

         13.     Thus, to be an “out-of-state debt collector” in the context of § 559.553(3)(h), a

  defendant must both (1) collect and/or attempt to collect consumer debts from Florida debtors;

  and (2) solicit consumer debt accounts for collection from creditors that have a business

  presence in Florida.

         14.     The term “creditor” is defined by the FCCPA as “any person who offers or extends

  credit creating a debt or to whom a debt is owed, but does not include any person to the extent that

  they receive an assignment or transfer of a debt in default solely for the purpose of facilitating

  collection of such debt for another.” Fla. Stat. § 559.55(5).

         15.     The term “credit grantor” is not defined by the FCCPA. Although the FCCPA is

  silent as to the meaning of “credit grantor,” the Florida legislature’s decision to only define

  “creditor,” along with the context in which “credit grantor” is used, makes clear that a “credit

  grantor” is a subset of “creditor.” See In re Appling, 848 F.3d 953, 959 (11th Cir. 2017) (“If

  possible, every word and every provision is to be given effect . . . . None should needlessly be

  given an interpretation that causes it to duplicate another provision or to have no consequence”).

  In the context of each statute, Fla. Stat. § 559.553(3)(h) uses the term “creditor grantor” as a

  specific subset of creditors which an “out-of-state debt collector” must not solicit, whereas Fla.

  Stat. § 559.55(8) uses the term “creditor” broadly, in that, it is an umbrella term encompassing

  many different subsets of creditors.




  2
    See Fla. Stat. § 559.55(11) (wherein the definition further states: “…[f]or purposes of this
  subsection, a creditor has a business presence in this state if either the creditor or an affiliate or
  subsidiary of the creditor has an office in this state.”).

                                              Page 5 of 10
Case 0:17-cv-60471-JJO Document 75 Entered on FLSD Docket 01/31/2018 Page 6 of 10



         16.     The term “solicit” or “solicitation,” in the context of the FCCPA, has come to be

  defined as “[t]he act or an instance of requesting or seeking to obtain something; a request or

  petition” or “an attempt or effort to gain business.” LeBlanc, 601 F.3d 1185 at 1198

  (quoting Black's Law Dictionary 1398 (7th ed.1999)).

         17.     Accordingly, synthesizing the above requirements in simpler terms, to properly

  invoke the narrow3 exemption carved out by § 559.553(3)(h), Defendant must prove that: (1)

  Defendant collects or attempts to collect consumer debts from Florida debtors; (2) Defendant does

  solicit consumer debt accounts for collection from Florida creditors; and (3) Defendant does not

  solicit consumer debt accounts for collection from Florida credit grantors.

  C.     ARGUMENT

         18.     Defendant does not qualify for exemption under Fla. Stat. § 559.553(3)(h) because

  Defendant has presented no evidence or argument sufficient to qualify Defendant for the narrow

  exemption of § 559.553(3)(h) nor does any such evidence or argument exist, and Defendant, by

  its own admissions, does not qualify for exemption under § 559.553(3)(h).

         19.     As set forth in more detail above, Defendant must satisfy three requirements to

  qualify for the exemption carved out by § 559.553(3)(h), whereby satisfaction of each requirement

  must be proven by Defendant. See Transcript of 12/22 Pretrial Conference at 13, ¶ 1-6.

         20.     First, Defendant must prove that it collects or attempts to collect consumer debts

  from Florida debtors (the “First Requirement”). Second, Defendant must prove that it solicits




  3
    The registration exemption carved out by Fla. Stat. § 559.553(3)(h) is a narrow exemption which
  defendants rarely qualify. See Collins v. Erin Capital Mgmt., LLC, 991 F. Supp. 2d 1195, 1211
  (S.D. Fla. 2013) (distilling the exemption issue within LeBlanc as “whether the defendant qualified
  for the narrow exemption afforded to some out-of-state consumer debtor collectors,” and further
  finding the LeBlanc court as “acknowledging [that] only a subset of out-of-state debt collectors
  qualifies for the [§ 559.553(3)(h)] exemption” (citing 601 F.3d 1185 at 1197)).

                                             Page 6 of 10
Case 0:17-cv-60471-JJO Document 75 Entered on FLSD Docket 01/31/2018 Page 7 of 10



  consumer debt accounts for collection from Florida creditors (the “Second Requirement”). Third,

  Defendant must prove it does not solicit consumer debt accounts for collection from Florida credit

  grantors (the “Third Requirement”).

  (i)    THE FIRST REQUIREMENT TO QUALIFY FOR THE EXEMPTION

         21.     Defendant’s satisfaction of the First Requirement, that it collects or attempts to

  collect debts from Florida debtors, shall not be challenged by this Motion, as Defendant, by and

  through the collection letter [D.E. 1-6], sought to collect a consumer debt from a Florida debtor,

  namely, Plaintiff. Thus, the remainder of this Motion focuses on the Second and Third

  Requirement.

  (ii)   THE SECOND & THIRD REQUIREMENTS TO QUALIFY FOR THE EXEMPTION

         22.     To satisfy the Second Requirement, Defendant must prove that it does solicit

  consumer debt accounts for collection from creditors with a business presence in Florida. In

  contrast, to satisfy the Third Requirement, Defendant must prove that it does not solicit consumer

  debt accounts for collection from credit grantors with a business presence in Florida.

         23.     With respect to admissions on the record, in its most recent affidavit filed with the

  Court, Defendant explicitly admits:

                 At no time has Defendant Charles G. McCarthy, Jr. D/B/A Law
                 Office of Charles G. McCarthy Jr. & Associates, solicited
                 accounts from any Florida based creditor or credit grantor.

  See D.E. 74 at 18, ¶ 5 (emphasis added); see also Id. at 3, ¶ 12 (stating the same). This admission,

  however, is not newly founded, nor is it exclusive to Defendant’s most recent affidavit [D.E. 74].

  In particular, Defendant similarly admits in its prior affidavit [D.E. 53 at 10-15] that no evidence

  exists that Defendant “engaged in the business of soliciting consumer debts for collection” and

  thus “no such evidence can be proffered.” See D.E. 53 at 13, ¶ 27-28. Moreover, in its First



                                             Page 7 of 10
Case 0:17-cv-60471-JJO Document 75 Entered on FLSD Docket 01/31/2018 Page 8 of 10



  Amended Answer [D.E. 37], Defendant denies that “it is a debt collector or business entity that

  solicits consumer debts for collection.” D.E. 37 at 7, ¶ 24.

         24.      As stated by the Defendant itself through pleadings and sworn affidavit testimony,

  see D.E. 53 at 10-15, there is no evidence in existence which supports satisfaction of the Second

  and Third Requirement by Defendant (i.e, that Defendant does indeed solicit creditor, but not credit

  grantors). To the contrary, Defendant expressly denies such conduct.

         25.     Put differently, the only evidence which could support Defendant’s satisfaction of

  the Second and Third Requirement is live testimony of the Defendant. See D.E. 65-3 (Defendant’s

  Witness & Exhibit List does not contain any witnesses (other than Defendant) or exhibits capable

  of supporting Defendant’s satisfaction of the Second and Third Requirement).              However,

  paradoxically, such hypothetical testimony offered by Defendant would have to be in complete

  contradiction to records in the pleadings already offered by Defendant in the form of, including

  but not limited to, sworn affidavits that stated that it does not solicit any creditor. Because

  Defendant, by its own admissions does not solicit creditors, it can not fall into the narrow

  exemption of § 559.553(3)(h).

  III.   CONCLUSION

         26.     As set forth above, Defendant cannot prove the Second or Third Requirements –

  and thus – does not fit within the registration exemption carved out by § 559.553(3)(h). Critically,

  by its own admissions, Defendant does not qualify for exemption under § 559.553(3)(h). See D.E.

  74 at 18, ¶ 5 (admitting that “[a]t no time has [Defendant] solicited accounts from any Florida

  based creditor or credit grantor”). Moreover, Defendant has presented no evidence or argument

  sufficient to qualify Defendant for the narrow exemption of § 559.553(3)(h), nor does any such




                                              Page 8 of 10
Case 0:17-cv-60471-JJO Document 75 Entered on FLSD Docket 01/31/2018 Page 9 of 10



  evidence or argument exist. Accordingly, no genuine issue of material fact exists and Plaintiff is

  entitled to judgment as a matter of law.

         27.     WHEREFORE, in light of the forgoing, Plaintiff respectfully requests that this

  Court grant Plaintiff’s motion for summary judgment.

         DATED: January 31, 2018

                                                      Respectfully Submitted,

                                                       /s/ Jibrael S. Hindi              .
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                                                      COUNSEL FOR PLAINTIFF




                                             Page 9 of 10
Case 0:17-cv-60471-JJO Document 75 Entered on FLSD Docket 01/31/2018 Page 10 of 10



                                      CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on January 31, 2018, the foregoing was electronically

   filed with the Clerk of the Court using the CM/ECF system which will send a notice of electronic

   filing to all counsel of record.

                                                         /s/ Jibrael S. Hindi                  .
                                                        JIBRAEL S. HINDI, ESQ.
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                                             Page 10 of 10
